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                        UNITED STATES DISTRICT COURT
                         for the District of New Jersey [LIVE]
                                      Trenton, NJ


 PAUL GOLLINGE
                                          Plaintiff,
 v.                                                    Case No.:
                                                       3:18−cv−16876−BRM−DEA
                                                       Judge Brian R. Martinotti
 RETAIL DESIGN SOLUTIONS, LLC,
 et al.
                                          Defendant.




                   Order For Dismissal Pursuant to L.Civ.R. 41.1(a)

    It appearing that the above captioned action having been pending for more than 90 days
 without any proceeding having been taken during this time and good cause having not
 been shown as to why this action should not be dismissed;
 IT IS on this 23rd day of March, 2020,
 ORDERED that the above captioned action be and is hereby dismissed, pursuant to
 L.Civ.R. 41.1(a), without prejudice and without costs.




                    /s/ Brian R. Martinotti
                    ____________________________________________________
                    BRIAN R. MARTINOTTI United States District Judge
